Case 8:19-cv-01257-JFW-PJW Document 33-1 Filed 08/23/19 Page 1 of 3 Page ID #:211




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      and the Classes
 11
 12                         UNITED STATES DISTRICT COURT

 13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

 14
 15   Bryce Abbink, individually and on            Case No. 8:19-cv-01257-JFW-PJW
 16   behalf of all others similarly situated,
                                             DECLARATION OF TAYLOR T.
 17                                          SMITH IN SUPPORT OF JOINT
                                Plaintiff,
                                             STIPULATION TO CONTINUE
 18                                          HEARING RE: DEFENDANT
      v.
 19                                          EXPERIAN INFORMATION
                                             SOLUTIONS, INC.’S MOTION TO
 20   Experian Information Solutions, Inc.,
                                             DISMISS
      an Ohio corporation, Lend Tech
 21
      Loans, Inc., a California corporation,
                                             Hon. John F. Walter
 22   and Unified Document Services, LLC,
      a California Limited Liability
 23                                          Complaint filed: June 21, 2019
      Company,
 24
                                 Defendant.
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 27
 28   DECL. OF TAYLOR T. SMITH IN SUPPORT    -1-
      OF JOINT STIPULATION TO CONTINUE
      HEARING RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 33-1 Filed 08/23/19 Page 2 of 3 Page ID #:212




  1         I, Taylor T. Smith, declare as follows:
  2         1.     I am an associate attorney with the law firm Woodrow & Peluso, LLC
  3   and attorney of record for Plaintiff Bryce Abbink (“Plaintiff”).
  4         2.     On June 21, 2019, Plaintiff filed Complaint in the above-captioned
  5   matter.
  6         3.     On July 2, 2019, Plaintiff served the Complaint and summons on
  7   Defendant Experian Information Solutions, Inc. (“Experian”) (Dkt. 21.)
  8         4.     On July 17, 2019, the Court extended the deadline for Experian to
  9   respond to Plaintiff’s Complaint to August 22, 2019. (Dkt. 19.)
 10         5.     On August 14, 2019 Experian filed its Notice of Motion and Motion to
 11   Dismiss, which set the hearing date on September 16, 2019. (Dkt. 25.)
 12         6.     Counsel for both Plaintiff and Experian conferred regarding extending
 13   the deadline by one week. Both Parties have been diligently engaged in the instant
 14   litigation. The Parties have been working to file various motions—including
 15   Experian’s Motion to Dismiss and Plaintiff’s Motions for Alternative Service.
 16   Further, the Parties have been engaged in serving and responding to discovery
 17   requests. Additionally, the Parties worked to file the Joint Stipulated Protective
 18   Order.
 19         7.     Plaintiff requests a brief extension to enable him to adequately respond
 20   to the arguments presented in Experian’s Motion to Dismiss. Specifically,
 21   Experian’s Motion to Dismiss requires Plaintiff to further research and understand
 22   the State of California’s licensing requirement for real estate brokers. Additionally,
 23   Experian’s argument against the second count of Plaintiff’s complaint also requires
 24   additional research into mechanics of student loan debt financing.
 25         I declare under penalty of perjury under the laws of the United States of
 26   America that the foregoing is true and correct. Executed on August 23, 2019, in
 27   Denver, Colorado.
 28   DECL. OF TAYLOR T. SMITH IN SUPPORT   -2-
      OF JOINT STIPULATION TO CONTINUE
      HEARING RE: MOTION TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 33-1 Filed 08/23/19 Page 3 of 3 Page ID #:213




  1
  2                                   By:     /s/ Taylor T. Smith
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  9                                          and the Classes

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 28   DECL. OF TAYLOR T. SMITH IN SUPPORT   -3-
      OF JOINT STIPULATION TO CONTINUE
      HEARING RE: MOTION TO DISMISS
